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                                                  EXHIBIT A

                                                Interim Order
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                    FOR THE EASTERN DISTRICT OF TEXAS
                                            SHERMAN DIVISION

                                                                           §
        In re:                                                             § Chapter 11
                                                                           §
        ZENERGY BRANDS, INC., et al.,1                                     § Case No. 19-42886
                                                                           §
                                    Debtors.                               § (Joint Administration Requested)
                                                                           §
                                                                           §


                INTERIM ORDER PURSUANT TO 11 U.S.C. §§ 105, 361, 362, 363, 364 AND 507
             (I) APPROVING POSTPETITION FINANCING, (II) AUTHORIZING USE OF CASH
                       COLLATERAL, (III) GRANTING LIENS AND PROVIDING
                 SUPERPRIORITYADMINISTRATIVE EXPENSE STATUS, (IV) GRANTING
                  ADEQUATE PROTECTION, (V) MODIFYING AUTOMATIC STAY, AND
            (VI) GRANTING RELATED RELIEF, AND (VII) SCHEDULING A FINAL HEARING

                   The relief set forth on the following pages, number 1 through 46, and Exhibits A and B,

        is hereby ORDERED, to the extent provided herein.

                   THIS MATTER having come before the Court on the motion (the “Motion”) by

        Zenergy Brands, Inc., a corporation incorporated under the laws of the State of Nevada and its

        debtor affiliates (collectively, the “Debtor”) as debtor-in-possession in the above-captioned

        chapter 11 case(s) (collectively, the “Case”), pursuant to Sections 105, 361, 362, 363,

        364(c)(1), 364(c)(2), 364(c)(3), 364(d), and 507 of title 11 of the United States Code (11

        U.S.C. §§ 101, et seq., as amended, the “Bankruptcy Code”), and Rules 2002, 4001, and

        9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), seeking entry

        of an interim order (this “Interim Order”) and final order, inter alia:


        1
          The Debtors in the above-captioned chapter 11 cases, along with the last four digits of each Debtor’s federal tax
        identification number, are: Zenergy Brands, Inc. (1686); NAUP Brokerage, LLC (7899); Zenergy Labs, LLC
        (8045); Zenergy Power & Gas, Inc. (1963); Enertrade Electric, LLC (8649); Zenergy & Associates, Inc. (4022); and
        Zen Technologies, Inc. (7309). The above-captioned Debtors’ mailing address is 5700 Granite Pkwy, #200, Plano,
        TX 75024.

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                   (i)        authorizing, under Sections 364(c) and 364(d) of the Bankruptcy Code and

        Bankruptcy Rule 4001(c), the Debtor to obtain secured, superpriority post-petition loans,

        advances, and other financial accommodations (the “DIP Facility”), on an interim basis for a

        period through and including the date of the Final Hearing (as defined below), pursuant to the

        terms and conditions of that certain Senior Secured Revolving Credit Facility Agreement (as

        amended, restated, supplemented, or otherwise modified from time to time, the “Agreement”)

        by and among (a) the Debtor (b) the Guarantors,2 and (c) TCA Special Situations Credit

        Strategies ICAV (the “Lender”), providing for a credit facility up to a principal amount of

        $5,000,000 with an initial principal advance of $2,000,000, substantially in the form of

        Exhibit B attached to the Motion; and

                   (ii)       authorizing the Debtor to execute and deliver the Agreement and all other

        related documents and agreements, including, but not limited to, the Senior Secured

        Promissory Note, Security Agreement (including accompanying Stock Powers, Assignment

        of Membership Interests and Irrevocable Proxies) (collectively, the “DIP Loan

        Documents”) and to perform such other acts as may be necessary or desirable in connection with

        the DIP Loan Documents; and

                   (iii)      granting allowed superpriority administrative expense claim status pursuant to

        Section 364(c)(1) of the Bankruptcy Code in the Case and any Successor Case (as defined

        herein) to all obligations owing under the Agreement and the other DIP Loan Documents

        (collectively, and including all “Obligations” as defined in the Agreement, including all

        obligations with respect to letters of credit issued or deemed issued under the Agreement,

        respectively, and, together, the “DIP Obligations”), subject to the priorities set forth herein; and



        2
            Capitalized terms used by not defined have the meanings given to them in the DIP Loan Documents.

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                   (iv)     authorizing the Debtor to use “Cash Collateral,” as defined in Section 363(a) of

        the Bankruptcy Code, that the Debtor is holding or may obtain, pursuant to Bankruptcy Code

        Section 361 and 363 and Bankruptcy Rules 4001(b) and 6004; and

                   (v)      granting to the Lender automatically perfected security interests in and liens on

        all of the DIP Collateral (as defined herein), including,                          without limitation, all property

        constituting “Cash Collateral” as defined in Section 363(a) of the Bankruptcy Code, which liens

        shall be subject to the priorities set forth herein; and

                   (vi)     authorizing and directing the Debtor to pay the principal, interest, fees, expenses

        and other amounts payable under each of the DIP Loan Documents as they become due,

        including, without limitation, continuing commitment fees, upfront fees, administrative fees, any

        additional fees set forth in the DIP Loan Documents, the reasonable fees and disbursements of

        the Lender’s attorneys, advisers, accountants, and other consultants, and all related expenses

        of the Lender, all to the extent provided by and in accordance with the terms of the respective

        DIP Loan Documents; and

                   (vii)    providing adequate protection to the Prepetition Senior Creditor (as defined

        herein) to the extent set forth herein; and

                   (viii) vacating and modifying the automatic stay imposed by Section 362 of the

        Bankruptcy Code to the extent necessary to implement and effectuate the terms and provisions of

        the DIP Loan Documents and this Interim Order; and

                   (ix)     granting related relief; and

                   (x)      scheduling a final hearing (the “Final Hearing”) to consider the relief requested

        in the Motion and approving the form of notice with respect to the Final Hearing.




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                   The Court having considered the Motion, the Declaration of Joshua Campbell in

        support of the Chapter 11 petition and first day motions, including the Motion, the exhibits

        attached thereto, the DIP Loan Documents, and the evidence submitted or adduced and the

        arguments of counsel made at the interim hearing held on the Motion (the “Interim Hearing”);

        and notice of the Interim Hearing having been given in accordance with Bankruptcy Rules

        4001(b), (c) and (d), 9014, and Local Bankruptcy Rule 2002-1; and the Interim Hearing to

        consider the interim relief requested in the Motion having been held and concluded; and all

        objections, if any, to the interim relief requested in the Motion having been withdrawn, resolved

        or overruled by the Court; and it appearing to the Court that, pursuant to Bankruptcy Rule

        4001(c)(2), granting the interim relief requested is necessary to avoid immediate and irreparable

        harm to the Debtor and its estate pending the Final Hearing, and otherwise is fair and

        reasonable and in the best interests of the Debtor, its estate, and it s creditors and equity

        holders, and is essential for the continued operation of the Debtor’s business; and after due

        deliberation and consideration, and for good and sufficient cause appearing therefor;

                    BASED ON THE RECORD ESTABLISHED AT THE INTERIM HEARING BY

          THE DEBTORS, INCLUDING THE SUBMISSIONS OF DECLARATIONS AND THE

          REPRESENTATIONS                  OF      COUNSEL,           THE       COURT          HEREBY          MAKES          THE

          FOLLOWING FINDINGS OF FACT AND CONCLUSIONS OF LAW (SUBJECT TO

          PARAGRAPH 34 OF THIS INTERIM ORDER):

                   A.       Petition Date. On October 24, 2019 (the “Petition Date”), the Debtor filed a

        voluntary petition under chapter 11 of the Bankruptcy Code in the United States Bankruptcy

        Court for the Eastern District of Texas, Plano Division (the “Court”), commencing this Case.




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                   B.       Debtor-in-Possession.           The Debtor is continuing in the management and

        operation of its business and properties as debtor-in-possession pursuant to Sections 1107 and

        1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this Case.

                   C.       Jurisdiction and Venue. This Court has jurisdiction, pursuant to 28 U.S.C. §§

        157(b) and 1334, over this Case, and over the persons and property affected hereby.

        Consideration of the Motion constitutes a core proceeding under 28 U.S.C. § 157(b)(2). Venue

        for the Case and proceedings on the Motion is proper in this district pursuant to 28 U.S.C. §§

        1408 and 1409.

                   D.       Committee Formation. As of the date hereof, the Office of the United States

        Trustee (the “U.S. Trustee”) has not yet appointed any official committee in this Case

        pursuant to Section 1102 of the Bankruptcy Code (each, a “Statutory Committee”).

                   E.       Debtor’s Stipulations.            After consultation with its attorneys and financial

        advisors, and without prejudice to the rights of parties in interest as set forth in paragraph 33

        herein, and subject to entry of the Final Order, the Debtor admits, stipulates, acknowledges,

        and agrees that (collectively, paragraphs E(i) through E(v) below are referred to herein as

        the “Debtor’s Stipulations”):

                            (i)     Prepetition Senior Debenture Documents.                      As of the Petition Date, the

        Debtor has outstanding senior secured debt evidenced by (i) that certain Securities

        Purchase Agreement, dated December 24, 2018 (the “Prepetition Senior SPA”), (ii) that

        certain Senior Secured, Convertible, Redeemable Debenture in the principal amount of

        $1,750,000, dated December 24, 2018, (iii) that certain Senior Secured, Convertible,

        Redeemable Debenture (Fee Debenture) in the principal amount of $16,000, maturing December

        24, 2020, dated December 24, 2018, (iv) that certain Senior Secured, Convertible, Redeemable



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        Debenture (Fee Debenture) in the principal amount of $16,000, maturing June 24, 2021, dated

        December 24, 2018, (v) that certain Promissory Note, dated October 10, 2019 (together, as

        amended, modified and supplemented from time                                 to time, the “Prepetition Senior

        Debentures” and together with all related documents, guaranties and agreements, the

        “Prepetition Senior Debenture Documents”), by and among (a) the Debtor, (b) the

        Guarantors, (c) Alex Rodriguez, and (d) TCA Global Credit Master Fund, L.P. (the

        “Prepetition Senior Creditor”).

                            (ii)    Prepetition Senior Obligations. As of the Petition Date, the aggregate

        outstanding principal amount owed by the Debtor under the Prepetition Senior Debenture

        Documents was not less than $2,622,468.41 (the “Prepetition Credit Loan”) (together with

        any interest, fees (including, without limitation, any early termination and prepayment fees),

        costs and other charges or amounts paid, incurred or accrued prior to the Petition Date in

        accordance with the Prepetition Senior Debenture Documents, and further including all

        “Obligations” as described in the Prepetition Senior SPA, and all interest, fees, costs and other

        charges allowable under Section 506(b) of the Bankruptcy Code, the “Prepetition Senior

        Obligations”). As more fully set forth in the Prepetition Senior Debenture Documents, prior to

        the Petition Date, the Debtor, the Guarantors and Alex Rodriguez granted first-priority security

        interests in and liens on any and all property, of any kind or description, tangible or intangible,

        real, personal or mixed, wheresoever located and whether then existing or thereafter arising or

        acquired, including, without limitation, the Collateral (as that term is identified in the Security

        Agreement dated December 24, 2018) (collectively, the “Prepetition Collateral”), to the

        Prepetition Senior Creditor (collectively, the “Prepetition Senior Liens”) to secure

        repayment of the Prepetition Senior Obligations.



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                            (iii)   Validity,       Perfection,       and        Priority      of    Prepetition        Liens      and

        Obligations.          The Debtor (without limiting the rights of other parties in interest under

        paragraphs 33 and 34 of this Interim Order), and the Prepetition Senior Creditor acknowledge

        and agree that: (a) as of the Petition Date, the Prepetition Senior Liens on the Prepetition

        Collateral are valid, binding, enforceable, non-avoidable, and properly perfected (to the

        extent any such permitted liens were valid, binding, enforceable, properly perfected, non-

        avoidable and senior in priority to the Prepetition Senior Liens as of the Petition Date, the

        “Prepetition Permitted Liens”);3 (b) as of the Petition Date, the Prepetition Senior Liens have

        priority over any and all other liens, if any, on the Prepetition Collateral, subject only to certain

        other liens otherwise permitted by the Prepetition Senior Debenture Documents; (c) the

        Prepetition     Senior      Obligations          constitute     legal,       valid,    binding, and non-avoidable

        obligations of the Debtor; (d) no offsets, challenges, objections, defenses, claims or

        counterclaims of any kind or nature to any of the Prepetition Senior Liens or the Prepetition

        Senior Obligations exist, and no portion of the Prepetition Senior Liens or the Prepetition

        Senior Obligations is subject to any challenge or defense including, without limitation,

        avoidance, disallowance, disgorgement, recharacterization, or subordination (whether equitable

        or otherwise) pursuant to the Bankruptcy Code or applicable non-bankruptcy law; (e) the

        Debtor and its estate have no claims, objections, challenges, causes of actions, and/or choses

        in action, including without limitation, avoidance claims under Chapter 5 of the Bankruptcy

        Code, against the Prepetition Senior Creditor or any of its respective affiliates, agents,



        3
          For purposes of this Interim Order, Prepetition Permitted Liens shall include all liens that were valid, senior,
        enforceable, nonavoidable, and perfected under applicable law as of the Petition Date. Nothing herein shall
        constitute a finding or ruling by this Court that any such Prepetition Permitted Liens are valid, senior, enforceable,
        perfected or non-avoidable. Moreover, nothing shall prejudice the rights of any party in interest including, but not
        limited to any Statutory Committee to challenge the validity, priority, enforceability, seniority, avoidability,
        perfection or extent of any such Prepetition Permitted Lien and/or security interest.

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        attorneys, advisors, professionals, officers, directors or employees arising out of, based upon,

        or related to the Prepetition Senior Debenture Documents; (f) as of the Petition Date, the value

        of the Prepetition Collateral securing the Prepetition Senior Obligations exceeded the amount

        of those obligations, and accordingly the Prepetition Senior Obligations are allowed

        secured claims within the meaning of Section 506 of the Bankruptcy Code, in an aggregate

        principal amount of not less than $2,622,468.41, together with accrued and unpaid and hereafter

        accruing interest, fees (including, without limitation, attorneys’ fees and related expenses), costs

        and other charges.

                            (iv)    Cash Collateral.           The Debtor acknowledges and stipulates that all of

        the Debtor’s cash, including the cash in its deposit accounts, wherever located, whether as

        original collateral or proceeds of other Prepetition Collateral, constitute Cash Collateral and is

        Prepetition Collateral of the Prepetition Senior Creditor.

                   F.       Findings Regarding the Post-petition Financing.

                            (i)     Request for Post-petition Financing.                   The Debtor seeks authority to

        (a) enter into the DIP Facility on the terms described herein and in the DIP Loan Documents,

        and (b) use Cash Collateral on the terms described herein to administer the Case and fund its

        operations.     At the Final Hearing, the Debtor will seek final approval of the proposed

        postpetition financing arrangements and use of Cash Collateral arrangements pursuant to a

        proposed final order (the “Final Order”), which shall be in form and substance acceptable to

        the Lender. Notice of the Final Hearing and Final Order will be provided in accordance with

        this Interim Order.

                            (ii)    Prepetition Liens.           The Prepetition Senior Creditor has consented to

        permit the Prepetition Senior Lien and the DIP Lien to be secured on a pari passu basis under



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        the terms and conditions set forth in this Interim Order and is entitled to receive adequate

        protection of its interests as more fully described below. The Prepetition Senior Liens and the

        DIP Liens shall be held by the Prepetition Senior Creditor and the Lender on a pari passu and

        pro-rata basis between the Prepetition Senior Creditor and the Lender, in proportion to such

        creditor’s outstanding financing or principal amount, as applicable, owing under Prepetition

        Senior Debenture Documents and the DIP Loan Documents, notwithstanding anything to the

        contrary contained therein and irrespective of: (i) dates, times or order of when a creditor made

        its loan or financing available; (ii) the time, order or method of attachment or perfection of the

        security interests created in favor of either creditor; (iii) the time or order of filing or recording of

        financing statements or other documents filed or recorded to perfect security interests in any

        collateral; (iv) anything contained in any filing or agreement to which any creditor now or

        hereafter may be a party; (v) the rules for determining perfection or priority under the Uniform

        Commercial Code or any other law governing the relative priorities of secured creditors; and (vi)

        the time or order of obtaining control or possession of any collateral.

                           (iii)   Immediate Need for Post-petition Financing and Use of Cash

        Collateral.    The Debtor’s need to use Cash Collateral and to obtain credit pursuant to the

        DIP Facility is immediate and critical in order to enable the Debtor to continue operations

        and to administer and preserve the value of its estate.                      The ability of the Debtor to finance

        its operations, maintain business relationships, pay its employees, protect the value of its

        assets and otherwise finance its operations requires the availability of working capital from

        the DIP Facility and the use of Cash Collateral, the absence of either of which would

        immediately and irreparably harm the Debtor, its estate, its creditors and equity holders, and

        the possibility for a successful administration of the Case.                            The Debtor does not have



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        sufficient available sources of working capital and financing to operate its business or to

        maintain its properties in the ordinary course of business without the DIP Facility and

        authorized use of Cash Collateral.

                           (iv)   No Credit Available on More Favorable Terms.                               Given its current

        financial condition, financing arrangements, and capital structure, the Debtor is unable to

        obtain financing from sources other than the Lender on terms more favorable than the DIP

        Facility.   The Debtor has been unable to obtain unsecured credit allowable under Section

        503(b)(1) of the Bankruptcy Code as an administrative expense.                            The Debtor has also been

        unable to obtain credit: (a) having priority over that of administrative expenses of the kind

        specified in Sections 503(b), 507(a), and 507(b) of the Bankruptcy Code; (b) secured by a lien

        on property of the Debtor and its estate that is not otherwise subject to a lien; or (c) secured

        solely by a junior lien on property of the Debtor and its estate that is subject to a lien.

        Financing on a post-petition basis is not otherwise available without granting the Lender (1)

        perfected security interests in and liens on (each as provided herein) all of the Debtor’s

        existing and after-acquired assets with the priorities set forth herein, (2) superpriority claims,

        and (3) the other protections set forth in this Interim Order.

                           (v)    Use of Proceeds of the DIP Facility. As a condition to entry into the

        Agreement, the extensions of credit under the DIP Facility, and the authorization to use Cash

        Collateral, the Lender requires, and the Debtor agrees, that proceeds of the DIP Facility shall

        be used in a manner consistent with the terms and conditions of the DIP Loan Documents and

        in accordance with the budget (a copy of which is attached as Exhibit A hereto, as the same

        may be modified from time to time consistent with the terms of the DIP Loan Documents, and

        subject to such variances as may be permitted thereby, the “Budget”), solely for (i)



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        postpetition operating expenses and other working capital, including, but not limited to, funding

        the amounts immediately required to enter into certain Master Energy Service Agreements (each

        a “MESA”) absent which the Debtor would not be able to continue to operate, (ii) certain

        transaction fees and expenses, (iii) permitted payment of costs of administration of the Case,

        including professional fees, (iv) Prepetition Senior Creditor Adequate Protection Payments,

        and (v) as otherwise permitted under the DIP Loan Documents, as applicable.

                           (vi)   Application of Proceeds of DIP Collateral. As a condition to entry into

        the DIP Loan Documents, the extension of credit under the DIP Facility, and the authorization to

        use Cash Collateral, the Debtor and the Lender have agreed that the proceeds of DIP Collateral

        (as defined herein) shall be applied in accordance with paragraph 18(a) of this Interim Order.

                   G.      Adequate Protection. The Debtor shall pay to the Prepetition Senior Creditor

        $90,000 upon the entry of the Final Order and as otherwise set forth herein.                            The Prepetition

        Senior Creditor shall receive (i) subject to the priorities set forth in paragraphs 12 and 13

        below, the Adequate Protection Liens (as defined herein) to secure the Prepetition Senior

        Obligations and Adequate Protection Superpriority Claims (as defined herein) with respect to

        the Prepetition Senior Obligations, and (ii) additional adequate protection in the form of (A)

        payment of the Prepetition Senior Obligations from the proceeds of DIP Collateral as set

        forth in paragraph 18(a) below and (B) payments of interest (which shall be payable at the

        highest default rate under the                   Prepetition Senior Debenture Documents), principal

        amortization, fees, costs, expenses (including attorneys’ fees and expenses), indemnities and

        other amounts with respect to the Prepetition Senior Obligations in accordance with the

        Prepetition Senior Debenture Documents (collectively, the “Prepetition Senior Creditor

        Adequate Protection Payments”).                   For the avoidance of doubt, the Adequate Protection



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        Liens and the Adequate Protection Superpriority Claims each shall be junior in all respects

        to the DIP Liens and the DIP Carve Out, and the Adequate Protection Superpriority Claims

        are junior in all respects to the DIP Superpriority Claim (as defined herein).

                   H.      Sections 506(c) and 552(b). In light of (i) the Lender’s agreement to subordinate

        its liens and superpriority claims, as applicable, to the DIP Carve Out (as defined herein);

        and (ii) the Prepetition Senior Creditor’s agreement to subordinate the Adequate Protection

        Superpriority Claims and the Adequate Protection Liens to the DIP Carve Out, the DIP

        Liens, and the DIP Superpriority Claim, in each Case as applicable, upon entry of the Final

        Order, the Lender and the Prepetition Senior Creditor is entitled to a waiver of (a) the

        provisions of Section 506(c) of the Bankruptcy Code, and (b) any “equities of the case” claims

        under Section 552(b) of the Bankruptcy Code.

                   I.      Good Faith of the Lender.

                           (i)     Willingness to Provide Financing.                        The Lender has indicated a

        willingness to provide financing to the Debtor subject to: (a) the entry of this Interim

        Order and the Final Order; (b) approval of the terms and conditions of the DIP Facility and

        the DIP Loan Documents; and (c) entry of findings by this Court that such financing is

        essential to the Debtor’s estate, that the Lender is extending credit to the Debtor pursuant to

        the DIP Loan Documents in good faith, and that the Lender’s claims, superpriority claims,

        security interests, liens, rights, and other protections granted pursuant to this Interim Order

        and the DIP Loan Documents will have the protections provided in Section 364(e) of the

        Bankruptcy Code and will not be affected by any subsequent reversal, modification, vacatur,

        amendment, reargument or reconsideration of this Interim Order or any other order.




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                           (ii)    Business Judgment and Good Faith Pursuant to Section 364(e). The

        extension of credit under the DIP Facility reflects the Debtor’s exercise of prudent business

        judgment consistent with its fiduciary duty, and is supported by reasonably equivalent value

        and consideration.        The DIP Facility and the use of Cash Collateral were negotiated in good

        faith and at arms’-length among the Debtor and the Lender. The use of Cash Collateral and

        credit to be extended under the DIP Loan Documents shall be deemed to have been so

        allowed, advanced, made, used or extended in good faith, and for valid business purposes and

        uses, within the meaning of Section 364(e) of the Bankruptcy Code, and the Lender is therefore

        entitled to the protection and benefits of Section 364(e) of the Bankruptcy Code and this

        Interim Order.

                   J.      Notice. Notice of the Interim Hearing and the emergency relief requested in the

        Motion has been provided by the Debtor, whether by facsimile, email, overnight courier or hand

        delivery, to certain parties in interest, including: (i) the U.S. Trustee for the Eastern District of

        Texas; (ii) the Securities and Exchange Commission; (iii) the Internal Revenue Service; (iv) the

        parties included on the Debtor’s consolidated list of thirty (30) largest unsecured creditors; (v)

        counsel to the Prepetition Senior Creditor; and (vi) those parties, if any, who have filed a

        notice of appearance and request for service of pleadings in this Case pursuant to

        Bankruptcy Rule 2002. The Debtor has made reasonable efforts to afford the best notice

        possible under the circumstances and such notice is good and sufficient to permit the interim

        relief set forth in this Interim Order, and no other or further notice is or shall be required.

                   K.      Immediate Entry. Sufficient cause exists for immediate entry of this Interim

        Order pursuant to Bankruptcy Rule 4001(c)(2).




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                   Based on the foregoing findings and conclusions, the Motion and the record before the

        Court with respect to the Motion, and good and sufficient cause appearing therefor,

                   IT IS HEREBY ORDERED that:

                   1.      Interim Financing Approved. The Motion is granted on an interim basis, the

        Interim Financing (as defined herein) is authorized and approved on an interim basis, and the use

        of Cash Collateral on an interim basis is authorized, subject to the terms and conditions set forth

        in this Interim Order.

                   2.      Objections Overruled. All objections to the Interim Financing to the extent not

        withdrawn or resolved are hereby overruled.

        DIP Facility Authorization

                   3.      Authorization of the DIP Financing and DIP Loan Documents.                                The Debtor is

        expressly and immediately authorized and empowered (i) to execute and deliver the DIP Loan

        Documents, (ii) to incur and to perform the DIP Obligations in accordance with, and subject

        to, the terms of this Interim Order, the DIP Loan Documents, and the Budget, (iii) to deliver all

        instruments and documents that may be necessary or required for performance by the Debtor

        under the DIP Facility and the creation and perfection of the DIP Liens described in and

        provided for by this Interim Order and the DIP Loan Documents.                                    All collections and

        proceeds, whether from ordinary course collections, asset sales, debt issuances, insurance

        recoveries, condemnations or otherwise, will be deposited and applied as required by this

        Interim Order and the DIP Loan Documents.                       Upon execution and delivery, the DIP Loan

        Documents shall represent valid and binding obligations of the Debtor, enforceable against the

        Debtor and its estate in accordance with their terms.

                   4.      Authorization to Borrow. Until the Revolving Loan Maturity Date (as defined

        in the Agreement), and subject to the terms, conditions, and limitations set forth in the DIP

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        Loan Documents, the DIP Facility and this Interim Order, and to prevent immediate and

        irreparable harm to the Debtor’s estate, the Debtor is hereby authorized to request extensions

        of credit under the DIP Facility on an interim basis up to an aggregate principal amount of

        $5,000,000.00 at any one time outstanding in accordance with the Agreement (the “Interim

        Financing”).

                   5.      DIP Obligations.            The DIP Loan Documents and this Interim Order shall

        constitute and evidence the validity and binding effect of the Debtor’s DIP Obligations, which

        DIP Obligations shall be enforceable against the Debtor, its estate, and any successors

        thereto, including without limitation, any trustee or other estate representative appointed in the

        Case, or any case under Chapter 7 of the Bankruptcy Code upon the conversion of the Case

        (collectively, “Successor Case”). Upon entry of this Interim Order, the DIP Obligations will

        include all loans and any other indebtedness or obligations, contingent or absolute, that may

        now or from time to time be owing by the Debtor to the Lender under the DIP Loan

        Documents or this Interim Order, including, without limitation, all principal, accrued interest,

        costs, fees, expenses and other amounts owed pursuant to the DIP Loan Documents, and shall

        be joint and several obligations of the Debtor in all respects.

                   6.      Post-petition Liens and Collateral.

                           (a)    Effective immediately upon the entry of this Interim Order, and subject to

        the DIP Carve Out, pursuant to Sections 364(c)(2), 364(c)(3), and 364(d) of the Bankruptcy

        Code, and to secure repayment of the DIP Obligations, the Lender is hereby granted, continuing

        valid, binding, enforceable, non-avoidable and automatically and properly perfected post-

        petition security interests in and liens (collectively, the “DIP Liens”) on any and all presently




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        owned and hereafter acquired assets and real and personal property of the Debtor, including,

        without limitation, the following (the “DIP Collateral”):

                                    (i)        all Accounts;4

                                    (ii)       all Goods, including Equipment, Inventory and Fixtures;

                                    (iii)      all Documents, Instruments and Chattel Paper;

                                    (iv)       all Letters of Credit and Letter-of-Credit Rights;

                                    (v)        all Securities Collateral;

                                    (vi)       all Investment Property;

                                    (vii)      all Intellectual Property Collateral;

                                    (viii) effective upon entry of the Final Order, all Commercial Tort

        Claims;

                                    (ix)       all General Intangibles;

                                    (x)        all Deposit Accounts;

                                    (xi)       all Supporting Obligations;

                                    (xii)      all money, cash or cash equivalents;

                                    (xiii) all credit balances, deposits and other property now or hereafter

        held or received by or in transit to the Lender or at any other depository or other institution

        from or for the account of the Debtor, whether for safekeeping, pledge, custody, transmission,

        collection, or otherwise.

                            (i)         all proceeds of leases of real property;5



        4
          All defined terms in the description of DIP Collateral shall have the meanings ascribed thereto in the DIP Loan
        Documents. All terms not specifically defined in the DIP Loan Documents shall have the meanings ascribed to such
        terms in Article 8 or 9 of the Uniform Commercial Code, as applicable.
        5
          For the avoidance of doubt, the DIP Liens extend only to the proceeds of leased real property and are not direct
        liens on the Debtor’s leases of real property unless such liens are expressly permitted pursuant to the underlying
        lease documents.

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                                  (xiv)      all owned real property;

                                  (xv)       effective upon the entry of the Final Order, all proceeds from any

        claim or cause of action to avoid a transfer of property (or an interest in property) or an

        obligation incurred by the Debtor pursuant to any applicable section of the Bankruptcy Code,

        including, without limitation, chapter 5 and Section 724(a) of the Bankruptcy Code (the

        “Avoidance Actions”);

                                  (xvi)      effective upon the entry of the Final Order, the Debtor’s rights

        under Section 506(c) and Section 550 of the Bankruptcy Code and the proceeds thereof;

                                  (xvii) to the extent not otherwise described above, all receivables and all

        present and future claims, rights, interests, assets and properties recovered by or on behalf of the

        Debtor;

                                  (xviii) all books, records, and information relating to any of the foregoing

        and/or to the operation of the Debtor’s business, and all rights of access to such books, records,

        and information, and all property in which such books, records and information are stored,

        recorded and maintained; and

                                  (xix)      to the extent not otherwise covered by clause (i) through (xix)

        above, all other personal property of the Debtor, whether tangible or intangible and all Proceeds

        and products of each of the foregoing and all accessions to, substitutions and replacements for,

        and rents, profits and products of each of the foregoing, and any and all proceeds of any

        insurance, indemnity, warranty or guaranty payable to the Debtor from time to time with respect

        to any of the foregoing.

                           (b)    Effective upon the entry of the Interim Order, (i) all DIP Liens shall

        each be and maintain at all times a security interest priority on a pari passu basis with the



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        Prepetition Senior Liens, (ii) all existing blocked account agreements, deposit account control

        agreements, securities account control agreements, credit card acknowledgements, credit

        card agreements, collateral access agreements, landlord agreements, warehouse agreements,

        bailee agreements, carrier agency                    agreements, customs broker agency agreements,

        subordination agreements and freight forwarder agreements constituting Prepetition Senior

        Debenture Documents, and all existing Uniform Commercial Code filings and all existing

        filings with the United States Patent and Trademark Office or the United States Copyright

        Office with respect to the recordation of an interest in the intellectual property of the Debtor,

        which in each case was filed by the Prepetition Senior Creditor, shall in each case be deemed

        to be delivered and/or filed in connection with the DIP Facility, shall constitute DIP Credit

        Documents and shall remain in full force and effect without any further action by the Debtor,

        the Lender, or any other person, and in each case the Lender shall be deemed to be a party

        thereto, (iii) any and all references in any such agreements or documents to the “Credit

        Agreement” shall hereafter be deemed to mean and refer to the Prepetition Credit Agreement and

        the Agreement, and (iv) any and all references in any such agreements or documents to the

        “Loan Documents” shall hereafter be deemed to mean and refer to the Prepetition Senior

        Debenture Documents and the DIP Credit Documents, in each case as amended, modified,

        supplemented or restated and in effect from time to time. Except as set forth in this Interim

        Order, nothing in this Interim Order shall be deemed to impair or otherwise modify the rights of

        the Prepetition Senior Creditor under any such agreements or documents as in effect prior to the

        date hereof.

                   7.      DIP Lien Priority.




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                           (a)    DIP Liens. Subject and subordinate to payment of the DIP Carve Out, the

        Prepetition Senior Liens and the DIP Liens shall be held by the Prepetition Senior Creditor and

        the Lender on a pari passu and pro-rata basis between the Prepetition Senior Creditor and the

        Lender, in proportion to such creditor’s outstanding financing or principal amount, as applicable,

        owing under Prepetition Senior Debenture Documents and the DIP Loan Documents,

        notwithstanding anything to the contrary contained therein and irrespective of: (i) dates, times or

        order of when a creditor made its loan or financing available; (ii) the time, order or method of

        attachment or perfection of the security interests created in favor of either creditor; (iii) the time

        or order of filing or recording of financing statements or other documents filed or recorded to

        perfect security interests in any collateral; (iv) anything contained in any filing or agreement to

        which any creditor now or hereafter may be a party; (v) the rules for determining perfection or

        priority under the Uniform Commercial Code or any other law governing the relative priorities of

        secured creditors; and (vi) the time or order of obtaining control or possession of any collateral.

                           (b)    Other than as set forth herein or as further ordered by the Court, and

        subject and subordinate to the DIP Carve Out, the DIP Liens shall not be made subject

        to or pari passu with any lien or security interest heretofore or hereinafter granted in the Case

        or any Successor Case. The DIP Liens shall be valid and enforceable against any trustee

        or other estate representative appointed in the Case or any Successor Case, upon the

        conversion of the Case to case under Chapter 7 of the Bankruptcy Code (or in any other

        Successor Case), and/or upon the dismissal of any of the Case or Successor Case. Subject to

        paragraph 34 of this Interim Order, the DIP Liens shall not be subject to challenge under

        Sections 510, 549, or 550 of the Bankruptcy Code. No lien or interest avoided and




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        preserved for the benefit of the estate pursuant to Section 551 of the Bankruptcy Code

        shall be pari passu with or senior to the DIP Liens.

                           (c)    Prepetition Senior Liens. For the avoidance of doubt, the Prepetition

        Senior Liens shall be pari passu with the DIP Liens and not junior to (i) the DIP Carve Out; (ii)

        the DIP Liens; (iii) the Adequate Protection Liens described in paragraph 12 below; (iv) the

        Adequate Protection Superpriority Claims; and (v) the Prepetition Permitted Liens.

                   8.      DIP Pari Passu Superpriority Claim.

                           (a)    Lender Pari Passu Claim.               Upon entry of this Interim Order, the Lender

        is hereby granted, pursuant to Section 364(c)(1) of the Bankruptcy Code, an allowed

        superpriority administrative expense claim in the Case and any Successor Case (collectively,

        the “DIP Superpriority Claim”) for all DIP Obligations. The DIP Superpriority Claim shall

        (i) be subject and subordinate to the DIP Carve Out, (ii) be pari passu with the Prepetition

        Senior Liens, and (iii) otherwise have priority over any and all administrative expenses of the

        kinds specified in or ordered pursuant to Sections 503(b) and 507(b) of the Bankruptcy

        Code, as provided under Section 364(c)(1) of the Bankruptcy Code.

                           (b)    Priority of DIP Superpriority Claim. Except Avoidance Actions, the DIP

        Superpriority Claim shall be payable from and have recourse to all pre- and post-petition

        property of the Debtor and all proceeds thereof, subject only to the payment in full in cash

        of the DIP Obligations. Upon entry of the Final Order, the DIP Superpriority Claim shall be

        payable from or have recourse to Avoidance Actions.

                           (c)    The Prepetition Senior Liens and the DIP Liens shall be held by the

        Prepetition Senior Creditor and the Lender on a pari passu and pro-rata basis between the

        Prepetition Senior Creditor and the Lender, in proportion to such creditor’s outstanding



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        financing or principal amount, as applicable, owing under Prepetition Senior Debenture

        Documents and the DIP Loan Documents, notwithstanding anything to the contrary contained

        therein and irrespective of: (i) dates, times or order of when a creditor made its loan or financing

        available; (ii) the time, order or method of attachment or perfection of the security interests

        created in favor of either creditor; (iii) the time or order of filing or recording of financing

        statements or other documents filed or recorded to perfect security interests in any collateral; (iv)

        anything contained in any filing or agreement to which any creditor now or hereafter may be a

        party; (v) the rules for determining perfection or priority under the Uniform Commercial Code or

        any other law governing the relative priorities of secured creditors; and (vi) the time or order of

        obtaining control or possession of any collateral.

                   9.      No Obligation to Extend Credit.               The Lender shall not have any obligation to

        make any loan or advance under the DIP Loan Documents unless all of the conditions precedent

        to the making of such extension of credit or the issuance of such letter of credit under the

        applicable DIP Loan Documents and this Interim Order have been satisfied in full or waived by

        the Lender, as applicable, in its sole discretion.

                   10.     Use of DIP Facility Proceeds. From and after the Petition Date, the Debtor shall

        use advances of credit under the DIP Facility only for the purposes specifically set forth in this

        Interim Order and the DIP Loan Documents, and in compliance with the Budget (including,

        without limitation, to make Prepetition Senior Creditor Adequate Protection Payments), a

        copy of which has been delivered to the Lender and the Prepetition Senior Creditor.

        Authorization to Use Cash Collateral

                   11.     Authorization to Use Cash Collateral. Subject to the terms and conditions of this

        Interim Order and the DIP Loan Documents, and in accordance with the Budget, the Debtor is

        authorized to use Cash Collateral until the Revolving Loan Maturity Date; provided, however,

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        that during the Remedies Notice Period (as defined herein) the Debtor may use Cash Collateral

        solely to meet payroll (other than severance) and to pay expenses critical to the preservation of

        the Debtor and its estate as agreed by the Lender, in its sole discretion, in each case in

        accordance with the terms and provisions of the Budget. Nothing in this Interim Order shall

        authorize the disposition of any assets of the Debtor or its estate outside the ordinary course

        of business (which shall be subject to further Orders of this Court), or the Debtor’s use of any

        Cash Collateral or other proceeds resulting therefrom, except as permitted in this Interim Order,

        the DIP Loan Documents, and in accordance with the Budget.

                   12.     Adequate Protection Payments and Adequate Protection Liens.

                           (a)    Adequate Protection Payments. The Prepetition Senior Creditor shall

        receive adequate protection in the form of the Prepetition Senior Creditor Adequate Protection

        Payments.

                           (b)    Creation of Adequate Protection Liens. Subject and subordinate to the

        DIP Carve Out, the Prepetition Senior Creditor is hereby granted, pursuant to Sections 361

        and 363 of the Bankruptcy Code, valid and perfected replacement and additional security

        interests in, and liens on all of the Debtor’s right, title and interest in, to and under all DIP

        Collateral (the “Adequate Protection Liens”). The Adequate Protection Liens granted to the

        Prepetition Senior Creditor shall secure Prepetition Senior Obligations.                                 The Adequate

        Protection Liens are and shall be valid, binding, enforceable and fully perfected as of the date

        hereof and subordinate and subject only to (i) the DIP Liens, (ii) the Permitted Prior Liens, and

        (iii) the DIP Carve Out.

                           (c)    Treatment of Adequate Protection Liens. Other than as set forth herein or

        as further ordered by the Court, the Adequate Protection Liens shall not be made subject to or



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        pari passu with any lien or with any lien or security interest heretofore or hereinafter granted in

        the Case or any Successor Case.                The Adequate Protection Liens shall be valid and enforceable

        against any trustee or other estate representative appointed in the Case or any Successor Case,

        upon the conversion of the Case to a case under Chapter 7 of the Bankruptcy Code (or in any

        Successor Case), and/or upon the dismissal of the Case or any Successor Case.

                           (d)    Payment of Prepetition Senior Creditor’s Professional Fees. In addition

        to the amounts identified in the Budget, the Debtor shall pay the postpetition reasonable and

        documented fees, costs and expenses incurred by the Prepetition Senior Creditor and the

        reasonable and documented fees, costs and expenses of its respective legal advisors (specifically:

        (i) Shraiberg, Landau & Page P.A. and (ii) Lucosky Brookman (collectively, the “Secured

        Creditor Professionals”)). The Prepetition Senior Creditor agrees that, to the extent it is later

        determined to be undersecured, any payments made under this paragraph 12(c) shall be

        recharacterized as payments on the principal amount of the prepetition loans. The invoices for

        the fees and expenses of the Prepetition Senior Creditor to be paid pursuant to this paragraph

        12(c) hereof shall be provided to counsel to the Debtor, with a copy to the U.S. Trustee and

        counsel to any official committee (collectively, the “Fee Notice Parties”). The invoices to be

        provided to the Fee Notice Parties shall contain reasonable detail, may contain redactions, and

        the provision of such invoices shall not constitute a waiver of the attorney-client privilege or any

        benefits of the attorney work product doctrine. If no objection to payment of the requested fees

        and expenses are made in writing by any of the Fee Notice Parties within ten (10) calendar days

        after delivery of such invoices (the “Fee Objection Period”), then, without further order of or

        application to the Court or notice to any other party, such fees and expenses shall be promptly

        paid by the Debtor. If an objection (solely as to reasonableness) is made by any of the Fee



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        Notice Parties within the Fee Objection Period to payment of the requested fees and expenses,

        then only the disputed portion of such fees and expenses shall not be paid until the objection is

        resolved by the applicable parties in good faith or by order of the Court, and the undisputed

        portion shall be promptly paid by the Debtor.

                   13.     Adequate Protection Superpriority Claims.

                           (a)    Superpriority Claim of Prepetition Senior Creditor.                                Subject and

        subordinate to the DIP Carve Out, as further adequate protection of the interests of the

        Prepetition Senior Creditor with respect to the Prepetition Senior Obligations, the Prepetition

        Senior Creditor is hereby granted an allowed administrative claim against the Debtor’s estate

        under Sections 503 and 507(b) of the Bankruptcy Code (the “Adequate Protection

        Superpriority Claims”) to the extent that the Adequate Protection Liens do not adequately

        protect against any diminution in the value in the aggregate of the Prepetition Senior

        Creditor’s interests in the Prepetition Collateral.

                           (b)    Priority of Adequate Protection Superpriority Claims. The Adequate

        Protection Superpriority Claim granted to the Prepetition Senior Creditor shall be junior to the

        DIP Carve Out, the Prepetition Permitted Liens, the DIP Liens, the DIP Superpriority Claim

        and the Adequate Protection Liens and shall otherwise have priority over administrative

        expenses of the kinds specified in or ordered pursuant to Sections 503(b) and 507(b) of the

        Bankruptcy Code.

        Provisions Common to DIP Financing and Use of Cash Collateral Authorizations

                   14.     Amendments. The DIP Loan Documents may from time to time be amended,

        modified, or supplemented by the parties thereto without notice or a hearing if: (i) in the

        reasonable judgment of the Debtor and the Lender, the amendment, modification, or

        supplement (A) is in accordance with the DIP Loan Documents, (B) is not prejudicial in any

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        material respect to the rights of third parties, and (C) has been consented to by the Lender,

        and (ii) a copy (which may be provided through electronic mail or facsimile) of the form of

        amendment, modification or supplement is provided to counsel for any Statutory Committee and

        the U.S. Trustee at least one (1) Business Day prior to the effective date of the amendment,

        modification or supplement.

                   15.     Budget Maintenance / Acceptable Variance. The Budget and any modification

        to, or amendment or update of, the Budget shall be in form and substance reasonably acceptable

        to the Lender and approved by the Lender, in its Permitted Discretion.                               The Debtor shall

        comply with and update the Budget from time to time in accordance with the DIP Loan

        Documents (provided that any update shall be in form and substance reasonably acceptable to

        the Lender and approved by the Lender, in its Permitted Discretion).                                         On or before

        Wednesday of each week, the Debtor shall deliver to the Lender an Approved Budget Variance

        Report (with delivery of the same to the United States Trustee and the Statutory Committee, if

        any, each week after delivery to the Lender).                    During the tenth (10th) week of the initial

        Budget, the Debtor shall submit a budget for the next successive thirteen-week period to the

        Lender, which budget shall be in form and substance reasonably acceptable to the Lender and

        approved by the Lender, in its Permitted Discretion. Approved Budget Variance means that

        actual amounts spent for each tested period may not vary from the applicable Budget period

        (including any amounts deemed “rolled over” from a previous week) by more 10% on a

        cumulative basis.

                   16.     Modification of Automatic Stay. The automatic stay imposed under Section

        362(a) of the Bankruptcy Code is hereby modified as necessary to effectuate all of the terms and

        provisions of this Interim Order, including, without limitation, to: (a) permit the Debtor to grant



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        the DIP Liens, the Adequate Protection Liens, the DIP Superpriority Claim, and the Adequate

        Protection Superpriority Claims; and (b) authorize the Debtor to pay, and the Lender and

        Prepetition Senior Creditor to retain and apply, payments made in accordance with the

        terms of this Interim Order.

                   17.     Perfection of DIP Liens and Adequate Protection Liens.

                           (a)    Automatic Perfection of Liens. This Interim Order shall be sufficient and

        conclusive evidence of the validity, perfection, and priority of all liens granted herein, including

        the DIP Liens and the Adequate Protection Liens, without the necessity of filing or recording any

        financing statement, mortgage, notice, or other instrument or document which may otherwise be

        required under the law or regulation of any jurisdiction or the taking of any other action

        (including, for the avoidance of doubt, entering into any deposit account control agreement,

        collateral access agreement, customs broker agreement or freight forwarding agreement) to

        validate or perfect (in accordance with applicable non-bankruptcy law) the DIP Liens and the

        Adequate Protection Liens, or to entitle the Lender or the Prepetition Senior Creditor to the

        priorities granted herein. Notwithstanding the foregoing, the Lender is authorized to file, as

        it in its Permitted Discretion deems necessary, such financing statements, mortgages,

        notices of liens and other similar documents to perfect in accordance with applicable non-

        bankruptcy law or to otherwise evidence any of the DIP Liens, and all such financing statements,

        mortgages, notices and other documents shall be deemed to have been filed or recorded as of the

        Petition Date; provided, however, that no such filing or recordation shall be necessary or

        required in order to create, perfect or enforce the DIP Liens. The Debtor is authorized to

        execute and deliver promptly upon demand to the Lender all such financing statements,

        mortgages, control agreements, notices and other documents as the Lender may reasonably



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        request. The Lender, in its Permitted Discretion, may file a photocopy of this Interim Order as

        a financing statement with any filing or recording office or with any registry of deeds or similar

        office, in addition to or in lieu of such financing statements, notices of lien or similar instrument.

                   18.     Application of Proceeds of DIP Collateral.

                           (a)    The proceeds of DIP Collateral shall be applied as follows:

                                  (i)        subject to clause (ii) below, (x) all payments received by the

        Lender in respect of any DIP Obligations and all funds transferred and credited to the

        “Segregated Account” (as defined in the Agreement) that the Debtor anticipates opening, and (y)

        all net proceeds from any Disposition of DIP Collateral, each shall be applied as follows:

        first, to payment of fees, costs and expenses payable and reimbursable by the Debtor under

        the Agreement and the other DIP Loan Documents; second, to payment of all DIP

        Obligations in accordance with the DIP Loan Documents: and third, to the Debtor’s operating

        account, or for the account of and paid to whoever may be lawfully entitled thereto; and

                                  (ii)       all net proceeds from any Disposition of DIP Collateral shall be

        applied as follows: first, a pro rata payment to the Prepetition Senior Creditor and the Lender, in

        proportion to such creditor’s outstanding financing or principal amount, as applicable, owing

        under Prepetition Senior Debenture Documents and the DIP Loan Documents, second, in

        accordance with clause (i) above.

                           (b)    Nothing provided herein shall be deemed to affect or modify priority of

        the DIP Carve Out or the allocation of the proceeds of DIP Collateral set forth in the DIP Loan

        Documents.

                           (c)    The Debtor shall not, directly or indirectly, voluntarily purchase, redeem,

        defease, prepay any principal of, premium, if any, interest or other amount payable in respect of



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        any indebtedness prior to its scheduled maturity, other than the DIP Obligations and the

        Prepetition Senior Obligations (each in accordance with the DIP Loan Documents and this

        Interim Order) and obligations authorized by an order of the Court.

                   19.     Proceeds of Subsequent Financing. If the Debtor, any trustee, any examiner with

        enlarged powers, any responsible officer, or any other estate representative subsequently

        appointed in this Case or any Successor Case shall obtain credit or incur debt pursuant to

        Sections 364(b), 364(c) or 364(d) of the Bankruptcy Code in violation of the DIP Loan

        Documents at any time prior to the repayment in full of all DIP Obligations and the termination

        of the Lender’s obligations to extend credit under the DIP Facility, including subsequent to the

        confirmation of any plan of reorganization or liquidation with respect to the Debtor and the

        Debtor’s estate, then all the cash proceeds derived from such credit or debt shall immediately

        be turned over to the Lender to be applied as set forth in paragraph 18(a) herein.

                   20.     Maintenance of DIP Collateral. Until the payment in full in cash of all DIP

        Obligations and the termination of the Lender’s obligations to extend credit under the DIP

        Loan Documents, as provided therein, the Debtor shall: (a) insure the DIP Collateral as

        required under the DIP Facility; and (b) maintain the cash management system which has been

        agreed to by the Lender or as otherwise required by the DIP Loan Documents.

                   21.     Disposition of DIP Collateral. Unless otherwise authorized by the Court, the

        Debtor shall not sell, transfer, lease, encumber or otherwise dispose of any portion of the DIP

        Collateral except as permitted by the DIP Loan Documents. Nothing provided herein shall limit

        the right of the Lender or the Prepetition Senior Creditor to object to any proposed

        disposition of the DIP Collateral.




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                   22.     Revolving Loan Maturity Date. On the Revolving Loan Maturity Date, (i) all

        DIP Obligations shall be immediately due and payable, and all commitments to extend credit

        under the DIP Facility will terminate, and (ii) all authority to use Cash Collateral shall cease,

        provided, however, that during the Remedies Notice Period (as defined herein), the Debtor may

        use Cash Collateral solely as set forth in paragraph 11 herein.

                   23.     Events of Default. The occurrence of an “Event of Default” under the Agreement

        shall constitute an event of default under this Interim Order (each, an “Event of Default”).

                   24.     Rights and Remedies Upon Event of Default.

                           (a)    DIP Facility Termination. Immediately upon the occurrence and during

        the continuance of an Event of Default, the Lender may in its discretion (or shall in accordance

        with the DIP Loan Documents) (i) declare the DIP Facility terminated (such declaration, a

        “Termination Declaration”), or (ii) send a reservation of rights notice to the Debtor,

        which notice may advise the Debtor that any further advances under the DIP Facility will be

        made in the sole discretion of the Lender. Upon the issuance of a Termination Declaration: (I)

        all or any portion of the Commitments of the Lender to make loans or otherwise extend credit

        may be suspended or terminated in accordance with the DIP Loan Documents; (II) all DIP

        Obligations may be deemed immediately due and payable in accordance with the DIP Loan

        Documents; and (III) after expiration of the Remedies Notice Period, any right or ability of

        the Debtor to use any Cash Collateral may be terminated, reduced or restricted by the Lender,

        provided that, during the Remedies Notice Period, the Debtor may use Cash Collateral solely

        to meet payroll (other than severance) and to pay expenses critical to the preservation of the

        Debtor and its estate as agreed by the Lender, in its sole discretion, in each case in accordance

        with the terms and provisions of the Budget. With respect to the DIP Collateral, following



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        the Termination Declaration, subject to the Remedies Notice Period, the Lender and the

        Prepetition Senior Creditor may exercise all rights and remedies available to them under the

        DIP Loan Documents or the Prepetition Senior Debenture Documents, as applicable, or

        applicable law against the DIP Collateral and without limiting the foregoing, the Lender and

        the Prepetition Senior Creditor may, subject to the Remedies Notice Period, (i) enter onto the

        premises of the Debtor in connection with an orderly liquidation of the DIP Collateral; and/or

        (ii) exercise any rights and remedies provided under the DIP Loan Documents or the

        Prepetition Senior Debenture Documents, as applicable, or at law or equity, including all

        remedies provided under the Bankruptcy Code and pursuant to this Interim Order and the

        Final Order.       Following the termination of the Remedies Notice Period, the Lender may require

        the Debtor to seek authority from the Court to retain an Approved Liquidator for the purpose

        of conducting a liquidation or “going out of business” sale and/or the orderly liquidation of

        the DIP Collateral and, if the Debtor refuses to seek such authority, the Lender shall be entitled

        to seek such authority directly.

                           (b)    Notice of Termination. Any Termination Declaration shall be given by

        facsimile (or other electronic means, including electronic mail) to counsel to the Debtor,

        counsel to the Prepetition Senior Creditor, counsel to any Statutory Committee, and the U.S.

        Trustee (the earliest date any such Termination Declaration is made shall be referred to herein as

        the “Termination Declaration Date”). The DIP Obligations shall be due and payable, without

        notice or demand, and the use of Cash Collateral shall automatically cease on the Termination

        Declaration Date, except as provided in paragraphs 1 1 and 2 4 of this Interim Order.

        Any automatic stay otherwise applicable to the Lender and the Prepetition Senior Creditors is

        hereby modified so that seven (7) business days after the Termination Declaration Date (the



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        “Remedies Notice Period”), the Lender and the Prepetition Senior Creditor shall be entitled to

        exercise all rights and remedies against the DIP Collateral in accordance with the DIP

        Loan Documents or the Prepetition Senior Debenture Documents, as applicable, and this

        Interim Order, and shall be permitted to satisfy the DIP Liens, the DIP Superpriority

        Claims, the Adequate Protection Liens and Adequate Protection Superpriority Claims,

        subject only to the DIP Carve Out and Prepetition Permitted Liens. During the Remedies

        Notice Period, the Debtor shall be entitled to seek an emergency hearing with the Court for

        the sole purpose of contesting whether an Event of Default has occurred; provided, that in the

        event the Debtor seeks such an emergency hearing and the Court is unable to schedule such

        a hearing during the seven (7) business day period described above, the Remedies Notice

        Period shall be tolled until the date on which the Court enters an order with respect to whether an

        Event of Default has occurred. Unless the Court determines during the Remedies Notice Period

        that an Event of Default has not occurred, the automatic stay shall automatically be terminated at

        the end of the Remedies Notice Period without further notice or order and the Lender and the

        Prepetition Senior Creditor shall be permitted to exercise all remedies set forth herein, in the

        Agreement, the DIP Loan Documents, the Prepetition Senior Debenture Documents, and as

        otherwise available at law against the DIP Collateral, without further order of or application or

        motion to the Court, and without restriction or restraint by any stay under Sections 105 or

        362 of the Bankruptcy Code, or otherwise, against the enforcement of the liens and security

        interest in the DIP Collateral or any other rights and remedies granted to (x) the Lender with

        respect thereto pursuant to the Agreement, the other DIP Loan Documents or this Interim Order

        and (y) the Prepetition Senior Creditor with respect thereto pursuant to the Prepetition Senior

        Debentures, the other Prepetition Senior Debenture Documents or this Interim Order.



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                           (c)    Access to Leased Premises.                  The Lender’s exercise of its remedies

        pursuant to this paragraph 24 shall be subject to: (w) any agreement in writing between the

        Lender and any applicable landlord, (x) pre-existing rights of the Lender and any applicable

        landlord under applicable non-bankruptcy law, (y) consent of the applicable landlord, or

        (z) further order of the Court following notice and a hearing.

                   25.     Good Faith Under Section 364 of the Bankruptcy Code; No Modification or Stay

        of this Interim Order. The Lender has acted in good faith in connection with this Interim

        Order and its reliance on this Interim Order is in good faith. Based on the findings set forth

        in this Interim Order and the record made during the Interim Hearing, and in accordance with

        Section 364(e) of the Bankruptcy Code, in the event any or all of the provisions of this

        Interim Order are hereafter modified, amended or vacated by a subsequent order of this Court, or

        any other court, the Lender is entitled to the protections provided in Section 364(e) of the

        Bankruptcy Code. Any such modification, amendment or vacatur shall not affect the validity

        and enforceability of any advances previously made or made hereunder, or lien, claim, or

        priority authorized or created hereby, provided that the Interim Order was not stayed by court

        order after due notice had been given to the Lender at the time the advances were made or the

        liens, claims or priorities were authorized and/or created. Any liens or claims granted to the

        Lender hereunder arising prior to the effective date of any such modification, amendment or

        vacatur of this Interim Order shall be governed in all respects by the original provisions of

        this Interim Order, including entitlement to all rights, remedies, privileges and benefits

        granted herein, provided that the Interim Order was not stayed by court order after due notice

        had been given to the Lender at the time the advances were made or the liens, claims or priorities

        were authorized and/or created.



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                   26.     DIP and Other Expenses. The Debtor is authorized and directed to pay (including

        by means of an advance or charge against its loan account by the Prepetition Senior Creditor or

        the Lender, as applicable) all reasonable and documented out-of-pocket expenses of (x) the

        Lender in connection with the DIP Facility (including, without limitation, expenses incurred

        prior to the Petition Date), as provided in the DIP Loan Documents, and (y) the Prepetition

        Senior Creditor (including, without limitation, expenses incurred prior to the Petition Date)

        as provided in the Prepetition Senior Debenture Documents, including, without limitation,

        reasonable legal, accounting, collateral examination, monitoring and appraisal fees, financial

        advisory fees, fees and expenses of other consultants, and indemnification and reimbursement

        of fees and expenses, upon the Debtor’s receipt of invoices for the payment thereof.

        Payment of all such fees and expenses shall not be subject to allowance by the Court and

        professionals for the Lender and the Prepetition Senior Creditor shall not be required to

        comply with the U.S. Trustee fee guidelines.                      The professionals for the Lender and the

        Prepetition Senior Creditor shall deliver a copy of their respective invoices to counsel for any

        Statutory Committee and the U.S. Trustee, redacted as necessary with respect to any privileged

        or confidential information contained therein.                    Any objections raised by the Debtor, the

        U.S. Trustee, or any Statutory Committee with respect to such invoices within ten (10) days of

        the receipt thereof will be resolved by the Court. In the event of any objection, the provisions

        of Section 107 of the Bankruptcy Code and Rule 9018 of the Federal Rules of

        Bankruptcy Procedure shall apply. Pending such resolution, the undisputed portion of any such

        invoice will be paid promptly by the Debtor.                    Notwithstanding the foregoing, the Debtor is

        authorized and directed to pay (including by means of an advance or charge against its loan

        account by the Prepetition Senior Creditor or the Lender, as applicable) on the Closing Date all



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        reasonable fees, costs and expenses of the Lender and the Prepetition Senior Creditor incurred

        on or prior to such date without the need for any professional engaged by the Lender or the

        Prepetition Senior Creditor to first deliver a copy of its invoice as provided for herein.

                   27.     Indemnification. Effective upon entry of the Final Order, the Debtor shall

        indemnify and hold harmless the Lender, and its respective shareholders, members, directors,

        agents, officers, subsidiaries and affiliates, successors and assigns, attorneys and professional

        advisors, in their respective capacities as such, from and against any and all damages, losses,

        settlement payments, obligations, liabilities, claims, actions or causes of action, whether

        groundless or otherwise, and reasonable costs and expenses incurred, suffered, sustained or

        required to be paid by an indemnified party of every nature and character arising out of or

        related to the DIP Loan Documents, or the DIP Facility or the transactions contemplated

        thereby and by this Interim Order, whether such indemnified party is party thereto, as

        provided in and pursuant to the terms of the DIP Loan Documents and as further described

        therein and herein, or in connection with this case, any plan, or any action or inaction by the

        Debtor; provided, that such indemnity shall not, as to any indemnified party, be available

        to the extent that such losses, claims, damages, liabilities or related expenses are

        determined by a court of competent jurisdiction by final and non-appealable judgment to have

        resulted from the gross negligence or willful misconduct of such indemnified party. The

        indemnity includes indemnification for the Lender’s exercise of discretionary rights granted

        under the DIP Facility. In all such litigation, or the preparation therefor, the Lender shall be

        entitled to select its own counsel and, in addition to the foregoing indemnity, the Debtor

        agrees to promptly pay the reasonable fees and expenses of such counsel.




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                   28.     Proofs of Claim. Any order entered by the Court in relation to the establishment

        of a bar date for any claims (including without limitation administrative claims) in the Case

        or any Successor Case shall not apply to the Lender or the Prepetition Senior Creditor.

        Neither the Lender nor the Prepetition Senior Creditor will be required to file proofs of claim

        or any Successor Case, and the provisions of this Interim Order relating to the amount of

        the DIP Obligations, the DIP Superpriority Claim and the Prepetition Senior Obligations shall

        constitute timely filed proofs of claim and/or administrative expense requests.                                  Provided;

        however, for the avoidance of doubt, both the Lender and the Prepetition Secured Lender shall

        file any request for payment of administrative expense priority claims with this Court and

        provide notice and an opportunity for a hearing.

                   29.     Rights of Access and Information. Without limiting the rights of access and

        information afforded the Lender under the DIP Loan Documents, the Debtor shall be, and

        hereby is, required to afford representatives, agents and/or employees of the Lender reasonable

        access to the Debtor’s premises and its books and records in accordance with the DIP Loan

        Documents, and shall reasonably cooperate, consult with, and provide to such persons all

        such information as may be reasonably requested. In addition, the Debtor shall authorize

        their independent certified public accountants, financial advisors,                         investment bankers and

        consultants to cooperate, consult with, and provide to the Lender all such information as may be

        reasonably requested with respect to the business, results of operations and financial condition

        of the Debtor.

                   30.     DIP Carve Out.

                           (a)    DIP Carve Out. As used in this Order, the “DIP Carve Out” means,

        collectively, the sum of: (i) all fees required to be paid to the Clerk of the Bankruptcy Court



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        and to the Office of the United States Trustee pursuant to 28 U.S.C. §1930(a) and Section 3717

        of title 31 of the United States Code; (ii) the aggregate amount of all fees and expenses of the

        claims/noticing agent incurred or accrued; and (iii) the aggregate amount of a c c r u e d o r

        i n c u r r e d a n d unpaid fees and expenses of the Debtor’s professionals retained by final

        order of the Court (which order has not been reversed, vacated or stayed unless such stay is no

        longer effective) under Sections 327(a) or 1103(a) of the Bankruptcy Code (the “Case

        Professionals”), to the extent such fees and expenses are allowed and payable pursuant to an

        order of the Court (which order has not been reversed, vacated or stayed) (“Allowed

        Professional Fees”) but subject to the aggregate amount(s) set forth in the Budget plus the

        amount of any unused retainer. Notwithstanding anything in this Order to the contrary, the DIP

        Carve Out shall be senior to all claims and liens, including DIP Obligations, the DIP Lien(s), and

        the DIP Superpriority Claim, as well as any adequate-protection liens and claims described in

        this Order.

                           (b)    No Direct Obligation to Pay Professional Fees or Committee Expenses.

        Except for funding the amounts identified in the Budget and Professional Fee Escrow Account

        as provided herein, neither the Lender nor the Prepetition Senior Creditor shall be responsible

        for the funding, direct payment or reimbursement of any fees or disbursements of any

        Case Professionals or any Committee Expenses incurred in connection with the Case or any

        Successor Case. Nothing in this Interim Order or otherwise shall be construed to obligate

        the Lender or the Prepetition Senior Creditor in any way to pay compensation to or to

        reimburse expenses of any Case Professional (including any Committee Expenses), or to

        guarantee that the Debtor has sufficient funds to pay such compensation or reimbursement.

        Nothing in this Interim Order or otherwise shall be construed to increase the DIP Carve Out



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        if actual (i) Allowed Professional Fees of any Case Professional or (ii) Committee Expenses

        are higher in fact than the estimated fees and disbursements reflected in the Budget. Except

        for funding the amounts identified in the Budget, notwithstanding anything to the contrary

        contained in this Order, the Budget or the DIP Loan Documents, neither the Lender nor the

        Prepetition Senior Creditor shall be responsible for funding into the Professional Fee Escrow

        Account any fees and expenses of the Debtor’s attorneys or any “success” or similar fee

        payable to the Debtor’s investment banker, and, subject to the immediately succeeding

        sentence, in no event shall any such amounts be paid out of the DIP Carve-Out or any funds in

        the Professional Fee Escrow Account (it being agreed that, in the case of the Debtor’s attorneys,

        such amounts shall be paid solely out of the pre-petition retainers provided to such attorneys).

                           (c)    Payment of DIP Carve Out. The funding of the DIP Carve Out shall be

        added to and made a part of the DIP Obligations, paid into the Professional Fee Escrow Account,

        and secured by the DIP Collateral and otherwise entitled to the protections granted under this

        Order, the DIP Loan Documents, the Bankruptcy Code and applicable law. The Debtor shall

        establish segregated accounts for the purpose of periodically depositing funds on account of (a)

        U.S. Trustee Fees and court-administration fees that will accrue during the pendency of the Case

        and (b) the amounts identified in the Budget for the beneficiaries of the DIP Carve Out identified

        in the Budget, pending approval by the Court to disburse such funds to such beneficiaries, on the

        payment dates identified in the Budget.

                   31.     Limitations on the DIP Facility, the DIP Collateral, the Cash Collateral and the

        Case Professionals DIP Carve Out. The DIP Facility, the DIP Collateral, the Cash Collateral and

        the DIP Carve Out may not be used: (a) in connection with or to finance in any way any action,

        suit, arbitration, proceeding, application, motion or other litigation of any type (i) adverse to or



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        against the interests of the Lender or the Prepetition Senior Creditor or their rights and

        remedies under the DIP Loan Documents, the Prepetition Senior Debenture Documents or this

        Interim Order or the Final Order, including, without limitation, for the payment of any services

        rendered by the professionals retained by the Debtor or any Statutory Committee in connection

        with the assertion of or joinder in any claim, counterclaim, action, proceeding, application,

        motion, objection, defense or other contested matter, the purpose of which is to seek, or the result

        of which would be to obtain, any order, judgment determination, declaration or similar relief, (ii)

        invalidating, setting aside, avoiding or subordinating, in whole or in part, any DIP Obligations or

        Prepetition Senior Obligations, (iii) for monetary, injunctive or other affirmative relief against

        the Lender or the Prepetition Senior Creditor or their collateral, (iv) preventing, hindering

        or otherwise delaying the exercise by the Lender or the Prepetition Senior Creditor of any

        rights and remedies under this Interim Order or the Final Order, the DIP Loan Documents, the

        Prepetition Senior Debenture Documents or applicable law, or the enforcement or realization

        (whether by foreclosure, credit bid, further order of the Court or otherwise) by the Lender

        upon any of the DIP Collateral or by the Prepetition Senior Creditor with respect to its

        Adequate Protection Liens, (v) asserting that the value of the Prepetition Collateral is less than

        the Prepetition Senior Obligations, or (vi) to pursue litigation against the Prepetition Senior

        Creditor; (b) to make any payment in settlement of any claim, action or proceeding, before

        any court, arbitrator or other governmental body; (c) to pay any fees or similar amounts to

        any person who has proposed or may propose to purchase interests in the Debtor; (d) objecting

        to, contesting, or interfering with, in any way, the Lender’s enforcement or realization upon

        any of the DIP Collateral once an Event of Default has occurred, except as provided for in

        this Interim Order or Final Order, or seeking to prevent the Lender from credit bidding in



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        connection with any proposed plan or reorganization or liquidation or any proposed

        transaction pursuant to section 363 of the Bankruptcy Code; (e) using or seeking to use Cash

        Collateral while the DIP Obligations or the Prepetition Senior Obligations remain outstanding

        in a manner inconsistent with the Budget, this Order, or the payment of such outstanding

        amounts; (g) using or seeking to use any insurance proceeds constituting DIP Collateral

        without the consent of the Lender; (h) incurring Indebtedness (as defined in the Agreement)

        outside the ordinary course of business, except as permitted under the DIP Loan

        Documents; (i) objecting to or challenging in any way the claims, liens, or interests held by or on

        behalf of the Lender or the Prepetition Senior Creditor; (j) asserting, commencing or

        prosecuting any claims or causes of action whatsoever, including, without limitation, any actions

        under Chapter 5 of the Bankruptcy Code, against the Lender or the Prepetition Senior Creditor;

        or (k) prosecuting an objection to, contesting in any manner, or raising any defenses to, the

        validity, extent, amount, perfection, priority, or enforceability of any of the DIP Obligations, the

        Prepetition Senior Obligations, the DIP Liens or the Prepetition Senior Liens or any other rights

        or interests of the Lender or the Prepetition Senior Creditor; provided, however, nothing in this

        Order precludes the use of $15,000.00 to investigate any liens, positions, or financing parties in

        this case.

                   32.     Payment of Compensation. Nothing herein shall be construed as a consent to the

        allowance of any professional fees or expenses of any Case Professionals or shall affect the right

        of the Lender to object to the allowance and payment of such fees and expenses.

                   33.     Reservation of Certain Third-Party Rights and Bar of Challenges and Claims.

                           (a)    The stipulations, findings, representations, and releases contained in

        this Interim Order and the DIP Loan Documents with respect to the Prepetition Senior



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        Creditor and the Prepetition Senior Obligations shall be binding upon all parties-in-interest,

        any trustee appointed in this case and any Statutory Committee (each, a “Challenge Party”),

        unless and solely to the extent that (i) any Challenge Party, other than the Debtor, initiates an

        action or adversary proceeding relating to a Challenge (as defined below) during the Challenge

        Period (defined below), and (ii) the Court rules in favor of the plaintiff in any such timely

        and properly filed Challenge. For purposes of this paragraph 33: (a) “Challenge” means any

        claim or cause of action against the Prepetition Senior Creditor on behalf of the Debtor’s

        creditors and interest holders, or to object to or to challenge the stipulations, findings or

        Debtor’s Stipulations set forth herein, including, but not limited to those in relation to: (i)

        the validity, extent, priority, or perfection of the mortgage, security interests, and liens of

        the Prepetition Senior Creditor; (ii) the validity, allowability, priority, or amount of the

        Prepetition Senior Obligations (including any fees included therein); (iii) the secured status of

        the Prepetition Senior Obligations; (iv) any liability of the Prepetition Senior Creditor with

        respect to anything arising from any of the respective                              Prepetition Senior Debenture

        Documents; or (v) the releases set forth in the DIP Loan Documents; and (b) “Challenge

        Period” means (i) with respect to any party-in-interest other than the Statutory Committee,

        the period from the Petition Date until the date that is seventy five (75) calendar days after

        the entry of this Interim Order and (ii) with respect to the Statutory Committee, the period

        from the date such Statutory Committee is formed until the date that is sixty (60) calendar

        days thereafter. Notwithstanding the foregoing, the Challenge Period may be extended by

        agreement of the Lender and the Prepetition Senior Creditor.

                           (b)    Upon the expiration of the Challenge Period without the filing of a

        Challenge (the “Challenge Period Termination Date”): (A) any and all such Challenges and



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        objections by any party (including, without limitation, any Statutory Committee, any Chapter 11

        trustee, and/or any examiner or other estate representative appointed in this Case, and any

        Chapter 7 trustee and/or examiner or other estate representative appointed in any Successor

        Case), shall be deemed to be forever waived, released and barred, (B) all matters not subject to

        the Challenge, and all findings, Debtor’s Stipulations, waivers, releases, affirmations, and

        other stipulations as to the priority, extent, and validity as to the Prepetition Senior Creditor’s

        claims, liens, and interests shall be of full force and effect and forever binding upon the

        Debtor, the Debtor’s bankruptcy estate and all creditors, interest holders, and other parties

        in interest in this Case and any Successor Case; and (C) any and all claims or causes of action

        against the Debtor or the Prepetition Senior Creditor relating in any way to the Debtor or

        the Prepetition Senior Debenture Documents shall be forever waived and released by the

        Debtor’s estate, all creditors, interest holders and other parties in interest in this case and any

        Successor Cases.

                   34.     Reservation of Rights. Notwithstanding anything to the contrary contained in this

        Order, in the event there is a timely and successful Challenge by any party in interest (in

        accordance with paragraph 33 hereof), this Court may unwind the repayment of the Prepetition

        Senior Obligations and order the repayment of such amount to the extent that such payment

        resulted in the payment of any Prepetition Senior Obligations consisting of an unsecured claim or

        other amount not allowable under Section 502 of the Bankruptcy Code. Notwithstanding the

        foregoing, a successful Challenge shall not in any way affect the validity, enforceability or

        priority of the DIP Obligations or the DIP Liens.




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                   35.     No Third- P arty Rights. Except as explicitly provided for herein, this Interim

        Order does not create any rights for the benefit of any third party, creditor, equity holder or any

        direct, indirect, or incidental beneficiary.

                   36.     Section 506(c) Claims. Upon entry of the Final Order, no costs or expenses of

        administration which have been or may be incurred in the Case at any time shall be charged

        against the Lender or the DIP Collateral or the Prepetition Senior Creditor or the Prepetition

        Senior Liens pursuant to Sections 105 or 506(c) of the Bankruptcy Code, or otherwise.

                   37.     No Marshaling/Applications of Proceeds. Upon entry of the Final Order, neither

        the Lender nor the Prepetition Senior Creditor shall be subject to the equitable doctrine of

        “marshaling” or any other similar doctrine with respect to any of the DIP Collateral.

                   38.     Section 552(b). Upon entry of the Final Order, the Lender shall be entitled

        to all of the rights and benefits of Section 552(b) of the Bankruptcy Code. Subject to the entry of

        the Final Order, the “equities of the case” exception under Section 552(b) of the Bankruptcy

        Code shall not apply to the Lender or the Prepetition Senior Creditor with respect to proceeds,

        products, offspring or profits of any of the Prepetition Collateral.

                   39.     Discharge Waiver. Effective upon entry of the Final Order, the Debtor expressly

        stipulates, and the Court finds and adjudicates that, none of the DIP Obligations, the DIP

        Superpriority Claim or the DIP Liens shall be discharged by the entry of an order confirming any

        plan of reorganization, notwithstanding the provisions of Section 1141(d) of the Bankruptcy

        Code, unless the DIP Obligations have been paid in full in cash on or before the effective date of

        a confirmed plan of reorganization. Subject to entry of a final order, the Debtor expressly

        stipulates, and the Court finds and adjudicates that, none of the Adequate Protection Liens or

        Adequate Protection Superpriority Claims shall be discharged by the entry of an order



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        confirming any plan of reorganization, notwithstanding the provisions of Section 1141(d) of

        the Bankruptcy Code, unless the Adequate Protection Superpriority Claims and claims secured

        by the Adequate Protection Liens have been paid in full in cash on or before the effective date

        of a confirmed plan of reorganization. Subject to entry of the final order, the Debtor shall not

        propose or support any plan or sale of all or substantially all of the Debtor’s assets or entry

        of any confirmation order or sale order that is not conditioned upon the payment in full in

        cash, on the effective date of such plan of all DIP Obligations and Adequate Protection

        Superpriority Claims.

                   40.     Rights Preserved. Notwithstanding anything herein to the contrary, the entry of

        this Interim Order is without prejudice to, and does not constitute a waiver of, expressly or

        implicitly: (a) the Lender’s or the Prepetition Senior Creditor’s right to seek any other or

        supplemental relief in respect of the Debtor (including the right to seek additional adequate

        protection, including, without limitation, in the form of reimbursement of fees and expenses of

        counsel to the Prepetition Senior Creditor); (b) the rights of the Prepetition Senior

        Creditor to seek the payment by the Debtor of post-petition interest or fees pursuant to Section

        506(b) of the Bankruptcy Code; or (c) any of the rights of the Lender or the Prepetition

        Senior Creditor under the Bankruptcy Code or under non-bankruptcy law, including, without

        limitation, the right to (i) request modification of the automatic stay of Section 362 of the

        Bankruptcy Code, (ii) request dismissal of the Case or any Successor Case, conversion of the

        Case to a case under Chapter 7, or appointment of a Chapter 11 trustee or examiner with

        expanded powers, or (iii) propose, subject to the provisions of Section 1121 of the Bankruptcy

        Code, a Chapter 11 plan or plans. Other than as expressly set forth in this Interim Order, any




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        other rights, claims or privileges (whether legal, equitable or otherwise) of the Lender and the

        Prepetition Senior Creditor are preserved.

                   41.     No Waiver by Failure to Seek Relief. The failure of the Lender to seek relief

        or otherwise exercise rights and remedies under this Interim Order, the DIP Loan

        Documents or applicable law, as the case may be, shall not constitute a waiver of any of the

        rights hereunder, thereunder, or otherwise of the Lender.

                   42.     Binding Effect of Interim Order.                   Immediately upon entry by this Court

        (notwithstanding any applicable law or rule to the contrary), the terms and provisions of this

        Interim Order shall become valid and binding upon and inure to the benefit of the Debtor, the

        Lender, the Prepetition Senior Creditor, all other creditors of the Debtor, any Statutory

        Committee or any other court appointed committee, appointed in the Case, and all other

        parties in interest and their respective successors and assigns, including any trustee or other

        fiduciary hereafter appointed in the Case, any Successor Case, or upon dismissal of any Case or

        Successor Case. Notwithstanding anything contained herein with respect to the obligations or

        limitations when a Final Order is entered, the terms of the Final Order shall be what is

        binding on all parties.

                   43.     No Modification of Interim Order. Until and unless the DIP Obligations have

        been paid in full in cash (such payment being without prejudice to any terms or provisions

        contained in the DIP Facility which survive such discharge by their terms), and all commitments

        to extend credit under the DIP Facility have been terminated, the Debtor irrevocably waives the

        right to seek and shall not seek or consent to, directly or indirectly: (a) without the prior written

        consent of the Lender (i) any modification, stay, vacatur or amendment to this Interim Order;

        or (ii) a priority claim for any administrative expense or unsecured claim against the



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        Debtor (now existing or hereafter arising of any kind or nature whatsoever, including,

        without limitation any administrative expense of the kind specified in Sections 503(b),

        507(a) or 507(b) of the Bankruptcy Code) in the Case or any Successor Case, equal or

        superior to the DIP Superpriority Claim, other than the DIP Carve Out; (b) any order allowing

        use of Cash Collateral resulting from DIP Collateral; and (c) any lien on any of the DIP

        Collateral with priority equal or superior to the DIP Liens. The Debtor irrevocably waives

        any right to seek any amendment, modification or extension of this Interim Order without the

        prior written consent, as provided in the foregoing, of the Lender, and no such consent shall be

        implied by any other action, inaction or acquiescence of the Lender.

                   44.     Interim Order Controls. In the event of any inconsistency between the terms and

        conditions of the DIP Loan Documents or this Interim Order, the provisions of this Interim Order

        shall govern and control.

                   45.     Survival. The provisions of this Interim Order and any actions taken pursuant

        hereto shall survive entry of any order which may be entered: (a) confirming any plan of

        reorganization in the Case; (b) converting the Case to a case under Chapter 7 of the Bankruptcy

        Code; (c) dismissing the Case or any Successor Case; or (d) pursuant to which this Court

        abstains from hearing the Case or a n y Successor Case. The terms and provisions of this

        Interim Order, including the claims, liens, security interests and other protections granted to

        the Lender and Prepetition Senior Creditor pursuant to this Interim Order and/or the DIP

        Loan Documents, notwithstanding the entry of any such order, shall continue in the Case, in

        any Successor Case, or following dismissal of the Case or any Successor Case, and shall

        maintain their priority as provided by this Interim Order until all DIP Obligations have been

        paid in full and all commitments to extend credit under the DIP Facility are terminated. The



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        terms and provisions in this Interim Order concerning the indemnification shall continue in the

        Case and in any Successor Case, following dismissal of the Case or any Successor Case,

        following termination of the DIP Loan Documents and/or the repayment of the DIP Obligations.

                   46.     Final Hearing. The Final Hearing to consider entry of the Final Order and final

        approval of the DIP Facility is scheduled for October [__], 2019 at [_________] before the

        Honorable Judge Rhoades, at the United States Bankruptcy Court for the Eastern District of

        Texas located at 660 North Central Expressway, Suite 300B, Plano, Texas 75074.

                   47.     Notice of Final Hearing: On or before [_____________], the Debtor shall serve,

        by United States mail, first-class postage prepaid, a copy of the Motion and this Interim Order

        upon: (a) the Office of the United States Trustee for the Eastern District of Texas; (b) the

        Securities and Exchange Commission; (c) the Internal Revenue Service; (d) the thirty (30)

        largest unsecured creditors of the Debtor at their last known addresses; (e) Shraiberg,

        Landau, & Page, P.A. (Attn: Bradley S. Shraiberg, Esq.), attorney for the Lender and the

        Prepetition Senior Creditor; (f) any party which has filed prior to such date a request for

        notices under Bankruptcy Rule 2002 with this Court; and (g) counsel for any Statutory

        Committee.

                   48.     Objection Deadline. Objections, if any, to the relief sought in the Motion shall

        be in writing, shall set forth with particularity the grounds for such objections or other statement

        of position, shall be filed with the clerk of the Bankruptcy Court, and personally served on

        (a) Debtor’s counsel, Marcus A. Helt and Jack G. Haake, 2021 McKinney Avenue, Suite 1600,

        Dallas, Texas, 75201, and Washington Harbour, 3000 K Street, N.W., Suite 600, Washington,

        D.C. 20007-5109, respectively; (b) the Office of the United States Trustee for the Eastern

        District of Texas; (c) counsel to any Statutory Committee; and (d) Shraiberg, Landau, & Page,



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        P.A. (Attn: Bradley S. Shraiberg, Esq.), attorney for the Lender and the Prepetition Senior

        Creditor, so that such objections are filed with the Court and received by said parties on or

        before 5:00 p.m. (Central Time) on [_________________] with respect to entry of the Final

        Order.

                   49.     Effect of this Interim Order. This Interim Order shall constitute findings of fact

        and conclusions of law pursuant to Bankruptcy Rule 7052 and shall take effect immediately,

        notwithstanding anything to the contrary proscribed by applicable law.

                   50.     Retention of Jurisdiction. The Court has and will retain jurisdiction to enforce

        this Interim Order according to its terms.

                   51.     Texas Comptroller of Public Accounts. Notwithstanding anything herein to the

        contrary, the relief granted herein is without prejudice to any rights of the Texas Comptroller of

        Public Accounts (the “Comptroller”) to funds that do not constitute property of the estate but

        that may qualify as tax trust funds.           The Comptroller is not precluded from pursuing such funds,

        if any, by this Interim Order, nor is any party in interest precluded from contesting any action of

        the Comptroller to recover alleged trust funds.

                                                        ###End of Order###




        Order submitted by:


        Proposed Attorneys for the
        Debtors and Debtors in Possession




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ZNGY - Zenergy Brands, Inc.
Rolling Weekly Cash Flow
                                                                               1               2               3             4              5         6                 7                 8                9                10               11                12            13
          Week Ending                                             10/25/2019       11/1/2019       11/8/2019       11/15/2019     11/22/2019 11/29/2019        12/6/2019     12/13/2019       12/20/2019       12/27/2019        1/3/2020         1/10/2020         1/17/2020

          Beginning Cash                                               49,376       (1,745,880)     (1,874,415)     (1,945,915)    (1,982,290)   (2,012,757)   (2,106,671)     (2,132,921)      (2,174,296)      (2,200,349)      (2,279,802)       (2,326,927)      (2,351,677)

          TCA Cash Injections*                                            -                -               -               -              -             -             -               -                -                -                -                 -                -

          Cash Inflows
          Zenergy Labs Incoming Revenue                                   -            23,750              -               -             -             -          23,750              -               -                -                 -             23,750              -
          NAUP Brokerage Incoming Revenue                                 -               -                -               -             -           4,600           -                -               -              5,400               -                -                -
          Sunnay and Ash - 28th                                         1,178             -                -               -           1,178           -             -                -               -              1,178               -                -                -
          Jail - 25th                                                   3,336             -                -               -           3,336           -             -                -             3,336              -                 -                -              3,336
          Annex - 25th                                                  2,386             -                -               -           2,386           -             -                -             2,386              -                 -                -              2,386
          BitPlus 1 - 29th                                              6,052             -                -               -             -           6,052           -                -               -              6,052               -                -                -
          Bit Plus 2 - 29th                                             6,052             -                -               -             -           6,052           -                -               -              6,052               -                -                -
          Fiesta - 24th                                                 9,831             -                -               -           9,831           -             -                -             9,831              -                 -                -              9,831
          Burger Works - 27th                                           4,286             -                -               -           4,286           -             -                -               -              4,286               -                -                -
          GracePoint - 24th                                               450             -                -               -             450           -             -                -               -                -                 -                -                -
          Total Cash Inflows                                           33,570          23,750              -               -          21,467        16,703        23,750              -            15,553           22,967               -             23,750           15,553
          Operational Cash Outflows
          DIP Lender's Fees                                            95,000
          Foley & Lardner                                              62,500                          62,500              -              -             -             -               -                -                -                -                 -                -
          TCA Closing Fees                                             83,000
          Miscellaneous Closing Costs                                   2,450
          Restructuring Advisor
          BK Filing Fees (Reimbursement to FL)                                         14,000
          UST Fees                                                        -             7,500              -              -              -             -              -              -                -                -             10,000               -                -
          Bank Service Charges                                          1,000             -                -            1,000            -             -              -            1,000              -                -                -               1,000              -
          Office Supplies                                               1,000             -                -              -            1,000           -              -              -              1,000              -                -                 -              1,000
          Payroll Expense                                                 -            34,625              -           34,625            -          34,625            -           34,625              -                -             34,625               -             34,625
          Insurance Expense Plexus                                        -             5,000              -              -              -           5,000            -              -                -              5,000              -                 -                -
          Malone Bailey                                                   -            15,000              -              -              -             -              -              -                -             15,000              -                 -                -
          CLA Tax Compliance                                            8,000             -                -              -            8,000           -              -              -              8,000              -                -                 -              8,000
          SamCo Holdings                                                  -             8,000              -              -              -           8,000            -              -                -              8,000              -                 -                -
          Loev Law Firm - SEC                                             -             2,500              -              -              -           2,500            -              -                -              2,500              -                 -                -
          M2 Compliance                                                 1,000           1,000              -              -              -           1,000            -              -                -              1,000              -                 -                -
          Rent Expense                                                    -             3,800              -              -              -           3,800            -              -                -              3,800              -                 -                -
          Software Escrow                                                 -                60              -              -              -              60            -              -                -                 60              -                 -                -
          Amazon Web Service Expense                                      -               300              -              -              -             300            -              -                -                300              -                 -                -
          Microsoft 365 & Adobe Expense                                   -               400              -              -              -             400            -              -                -                400              -                 -                -
          Google Email Expense                                            560             -                -              -              -             -              -              -                -                -                -                 -                -
          GoDaddy Hosting Expense                                         100             200                                                          200                                                             200
          VPS Server Expense                                              326             -               -               -              -             326           -               -                -                326              -                  -               -
          Smart Thermostat Licenes                                        750             750             -               750            -             750           -               750              -                750              -                  -               -
          Telephone CRM Expense                                           -               150             -               -              -             150           -               -                -                150              -                  -               -
          Securities Transfer Agent                                     2,000           1,000             -               -              -           1,000           -               -                -              1,000              -                  -               -
          Stretto                                                         -            10,000             -               -              -          15,000           -               -                -             15,000              -                  -               -
          Travel (TCA Field Audit)                                      2,500             -             2,500             -              -             -           2,500             -                -                -              2,500                -               -
          CORE                                                            -               500             -               -              -             500           -               -                -                500              -                  -               -
          NAUP Outgoing Commissions                                       -               -               -               -              -           2,100                           -                -              2,500              -                                  -
          Travel, Meals and Entertainment                               1,500             -             1,500             -              -           1,500           -               -              1,500              -                -                 -              1,500
          Total Operational Cash Outflows                             261,686         104,785          66,500          36,375          9,000        77,211         2,500          36,375           10,500           56,486           47,125             1,000           45,125

          MESA Expenses (A,E&I)**                                   1,500,000              -            5,000              -              -             -             -            5,000               -                -                -                 -             5,000

          Ending Cash Flow Position                                (1,745,880)      (1,874,415)     (1,945,915)     (1,982,290)    (2,012,757)   (2,106,671)   (2,132,921)     (2,174,296)      (2,200,349)      (2,279,802)      (2,326,927)       (2,351,677)      (2,417,355)
